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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION



UNITED STATES OF AMERICA,

                      Plaintiff,                            Case No. 1:03cr203-09

v.                                                          Hon. Robert J. Jonker

DAMIEN DEMON BAKER,
True Name: Damien Damonn Baker,

                      Defendant.
                                       /

               ORDER GRANTING MOTION FOR REDUCTION OF SENTENCE

               This matter is before the Court on Defendant's Motion for Modification or Reduction
of Sentence under 18 U.S.C. § 3582(c)(2) (docket # 696). The basis for the motion is the United
States Sentencing Commission's retroactive reduction in the base offense level guideline for crack
cocaine offenses, effective March 3, 2008, and amended on May 1, 2008. The Probation and
Pretrial Services Department has submitted a Sentence Modification Report required by the Court,
and recommends a sentence reduction in this case to 96 months based on the guideline
calculations in it. Counsel for the government and for the defendant have separately responded
(docket ## 722 and 724), concurring in the approach and accuracy of the Sentence Modification
Report.
               The Court has reviewed the public record in this matter, the original Presentence
Report, and the Sentence Modification Report.       After considering the recommendations of
interested parties, and the goals of sentencing under 18 U.S.C. § 3553(a), and consistent with the
Sentencing Commission's Policy Statement, U.S.S.G. 1B1.10, the Court finds that a reduction in
sentence to 96 months is warranted on the facts of this case. The sentence originally imposed
remains in all other respects unchanged.
               Accordingly, IT IS ORDERED under 18 U.S.C. § 3582(c)(2) that Defendant's
originally imposed sentence of imprisonment in this matter is REDUCED TO 96 MONTHS; the
sentence originally imposed remains in all other respects unchanged; under Adm. Order 08-052,
the Clerk is directed to reassign this case back to the Honorable Gordon J. Quist for all further
proceedings.

                                                    /s/ Robert J. Jonker
                                                        Robert J. Jonker
                                                    United States District Judge

Date: July 8, 2009
